Case:18-19746-TBM Doc#:23-4 Filed:02/11/19                        Entered:02/11/19 09:52:26 Page1 of 5




                               UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF COLORADO



  In Re:                                               )
                                                                    Case No. 18-19746
                                                       )
  Glen Pugh
                                                       )
                                                       )
                                    Debtor(s).         )


  ORDER GRANTING THE CHAPTER 7 TRUSTEE’S APPLICATION AND AUTHORIZING AND
                  APPROVING THE TRUSTEE’S RETAINMENT OF
                                   BK GLOBAL REAL ESTATE SERVICES
                TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327
         THIS MATTER having come before the Court upon the Trustee’s Application and Authorizing
 and Approving the Trustee’s Retainment of BK Global Real Estate Services to Procure Consented Public
 Sale, and the Court having reviewed the Motion, there being no timely filed objections and being duly
 advised in the premises:
           IT IS ORDERED:


           1.   The Trustee filed for relief on February 11, 2019, under Chapter 7 of the United States

                Bankruptcy Code and Kevin Kubie, is the duly qualified and acting Chapter 7 Trustee of the

                bankruptcy estate of Glen Pugh .

           2. The Debtor scheduled an ownership interest in real property located at 5 DEL NORTE DR

                ROSWELL, NM 88201, legally described as follows:

                Parcel Number: 4-136-059-244-474-000000
                Tax ID: R026201
                Census Tract: 350050010.022021
                Carrier Route: C031
                Abbreviated Description: SUBD: DEL NORTE ESTATES BLOCK: 1 LOT: 3 QUARTER:
                SW S: 21 T: 10S R: 24E BK: 205 PG: 956


                hereinafter referred to as the “Real Property”.
Case:18-19746-TBM Doc#:23-4 Filed:02/11/19                    Entered:02/11/19 09:52:26 Page2 of 5



       3. The bankruptcy estate now holds the undivided interest in and to the subject Real Property.

       4. The Real Property listed having a value of $108,000.00.

       5. The Real Property is subject to the following mortgage(s) or lien(s):

               a. First Mortgage Holder: Mr. Cooper in an amount exceeding $100,580.92

       6. Based upon the market value of the Real Property provided by the Debtor and the information

           regarding the mortgages on this Real Property, the first mortgage debt is in excess of the market

           value of the Real Property.

       7. The Handbook for Chapter 7 Trustees published by the Executive Office of the United States

           Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General Standards “A

           trustee may sell assets only if the sale will result in a meaningful distribution to creditors. The

           Section further states “the trustee may seek a “carve-out” from a secured creditor and sell the

           property at issue if the “carve-out” will result in a meaningful distribution to creditors. Further,

           the Section states “The trustee must also consider whether the cost of administration or tax

           consequences of any sale would significantly erode or exhaust the estate’s equity interest in the

           asset.”

       8. BK Global Real Estate Services (“BK Global”) provides services to trustees as BK Global has

           expertise and experience in assisting the trustee in negotiating with secured creditors to

           accomplish the following:

               a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter 7

                     Trustee determines to have made the best qualified offer with the sale approved by the

                     Court, pursuant to 11 U.S.C. § 363;

               b. Obtain the release the senior mortgage and waive all of its claims against the estate

                     with respect to the Real Property (including any deficiency claims resulting from the

                     proposed sale);

               c. Work with the secured mortgage holder to enter into an agreement for an 11 U.S.C. §

                     506 surcharge to pay all of the closing expenses associated with the § 363 sale,
Case:18-19746-TBM Doc#:23-4 Filed:02/11/19                   Entered:02/11/19 09:52:26 Page3 of 5



                    including the payment of a six percent (6%) real estate brokerage commission and

                    reimbursement of their out-of-pocket expenses to BK Global and any associated real

                    estate professional, paid from the proceeds of the sale, and provide a meaningful carve

                    out for the benefit of allowed unsecured creditors of the Debtor(s)’ estate; and

                d. Make certain the amount of the carve out is clearly set out in the motion to sell the Real

                    Property pursuant to 11 U.S.C. § 363.

       9.   BK Global will assist the Chapter 7 Trustee in negotiations with the first mortgage holder to

            obtain the consent of the first mortgage holder for the sale of the Real Property. A carve out

            from the sale proceeds, such amount for the benefit of unsecured creditors of the bankruptcy

            estate, which will result in a meaningful distribution to the creditors, and upon a successful

            resolution with the secured creditor, a separate motion will be filed seeking approval of the

            settlement terms and conditions.

       10. BK Global will not be entitled to any fees if the first mortgage holder does not grant its consent

            or the Court does not grant the motion to approve the sale of the Real Property.

       11. In no event will the bankruptcy estate have any obligation to pay BK Global or associated real

            estate professional for their services, or to pay the customary title and closing services. The

            terms of the listing agreement and this Application provide that BK Global and listing agent

            are only entitled to payment if and when (a) secured creditor grants its consent, (b) the motion

            to approve sale is granted and (c) the Real Property is sold, in which event BK Global and

            listing agent will receive a six percent (6%) real estate brokerage commission and obtain

            reimbursement of any out-of-pocket expenses.

       12. The Trustee believes that the highest and best value for the Real Property will be generated

            through a sale in which the Real Property is widely marketed to the public and offered at the

            highest price that the market will bear. The Trustee further believes that such a sale is in the

            best interest of the Debtor(s)’ bankruptcy estate, but can only be achieved if the secured

            creditor’s consent is first obtained. The Chapter 7 Trustee believes that retaining BK Global
Case:18-19746-TBM Doc#:23-4 Filed:02/11/19                        Entered:02/11/19 09:52:26 Page4 of 5



             and/or an associated real estate professional to obtain the secured creditor’s consent is in the

             best interest of the Debtor(s)’ bankruptcy estate.

         13. The Trustee submits that the terms of employment and compensation as set out in this

             application and the listing agreement, are reasonable in light of the extensive experience of BK

             Global and any associated real estate professional, and the nature of the services they provide.

             (See Exhibit “A” which was attached to the Application.)

         14. BK Global attested that it is a disinterested person within the meaning of Section 101(14) of

             the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a). Attached

             to the Application as Exhibit “B” was the Affidavit of Disinterestedness of BK Global. BK

             Global also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with

             any individual or entity other than the listing agent or a buyer’s agent, if applicable.




         The Court, having reviewed the file herein and being fully advised, finds that good cause exists to

 grant the Trustee’s Application and for the entry of this Order.


         IT IS, THEREFORE, BY THE COURT ORDERED that the Notice provided by the Trustee on the

 Application to Retain BK Global Real Estate Services was due, proper and sufficient, and no further or

 additional notice is necessary or required.


         IT IS BY THE COURT FURTHER ORDERED that the Application filed herein by the Chapter 7

 Trustee on, is hereby APPROVED and the Chapter 7 Trustee is hereby AUTHORIZED to retain BK Global

 Real Estate Services in this case and the compensation arrangements set forth in the listing agreement and

 this application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code are hereby APPROVED.


         IT IS BY THE COURT FURTHER ORDERED that the proposed Real Estate Listing Agreement

 is hereby APPROVED and the Chapter 7 Trustee is hereby AUTHORIZED to execute the same on behalf

 of this bankruptcy estate as he deems appropriate.
Case:18-19746-TBM Doc#:23-4 Filed:02/11/19   Entered:02/11/19 09:52:26 Page5 of 5



 Dated: ___________________        ____________________________________________
                                   US Bankruptcy Judge
